                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )       No. 3:06-00200-10
                                                 )       JUDGE ECHOLS
SEBASTIAN GONZALEZ                               )
                                                 )

                                               ORDER

       Defendant Sebastian Gonzalez filed a Motion To Modify Or Reduce Federal Sentence

Pursuant To 18 U.S.C. § 3582(c)(2) & U.S.S.G. § 2S1.1(a) & (b) and § 3B1.2(a) & (b) (Docket

Entry No. 210), to which the Government filed a response in opposition (Docket Entry No. 211),

and Gonzalez filed a reply (Docket Entry No. 212).

       Gonzalez entered a guilty plea to Count Two of the Indictment (Docket Entry No. 12), which

charged him with money laundering under 18 U.S.C. § 1956(h). At sentencing, the Court set a total

offense level of 25 and a criminal history category of I, which resulted in a guideline range of 57-71

months. After considering the sentencing factors under 18 U.S.C. § 3553(a), the Court imposed a

sentence of 60 months of imprisonment. Gonzalez now asks the Court to reconsider its guideline

calculation and lower the total offense level.

       The authority of a district court to re-sentence a defendant is limited by statute, and a district

court is expressly prohibited from modifying a sentence except under those conditions set by

Congress. United States v. Johnson, 564 F.3d 419, 421 (6th Cir. 2009). Through enactment of 18

U.S.C. § 3582(c)(2), Congress granted the district court discretion to reduce a sentence based upon

a change in the Sentencing Guidelines affecting a defendant’s sentencing range. Id.




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       Gonzalez has not identified any change in the applicable Sentencing Guidelines that affect

his guideline sentencing range. Rather, Gonzalez simply disagrees with the guideline calculation

utilized by the Court at sentencing. Based on the facts as Gonzalez now claims them to be,

Gonzalez tries to show how the guideline range could have been lower if certain guideline

provisions had not been applied or if certain other provisions had been applied. Such an approach

to re-sentencing does not fall within the limited authority Congress granted to the district court in

§ 3582(c)(2).

       Accordingly, Gonzalez’s motion (Docket Entry No. 210) is hereby DENIED.

       It is so ORDERED.

                                              __________________________________________
                                              ROBERT L. ECHOLS
                                              UNITED STATES DISTRICT JUDGE




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